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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 WILLIAMS ARTURO POLANCO,
                                 Plaintiff,
                                                                     23-cv-62 (AS)
                     -against-
                                                                        ORDER
 PROTECTIVE INSURANCE,
                                 Defendant.

ARUN SUBRAMANIAN, United States District Judge:

       As stated during the March 4, 2024 conference, dispositive motions shall be filed no later

than April 25, 2024. No later than March 5, 2024, the parties shall file a joint letter proposing a

briefing schedule consistent with this deadline.

       SO ORDERED.

Dated: March 4, 2024
       New York, New York



                                                                ARUN SUBRAMANIAN
                                                                United States District Judge
